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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

SECURITIES AND EXCHANGE                      §
COMMISSION,                                  §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §           Civil Action No. 3:15-CV-01045-N
                                             §
TEAM RESOURCES, INC., et al.,                §
                                             §
       Defendants.                           §

                                  FINAL JUDGMENT

       By separate Order of this same date, the Court grants in part and denies in part

Plaintiff the Securities and Exchange Commission’s (the “SEC”) amended motion for

remedies against Defendants Team Resources, Inc. (“Team Resources”), Fossil Energy

Corporation (“Fossil”), Kevin A. Boyles, John Olivia, and Michael Eppy.

       It is therefore ORDERED that Team Resources, Fossil, and Boyles are jointly and

severally liable for disgorgement of $15,508,280.13, representing proceeds gained as a result

of the conduct alleged in the SEC’s complaint (the “Complaint”), together with prejudgment

interest thereon in the amount of $2,998,870.71, for a total of $18,507,150.84.

       It is further ORDERED that Boyles is individually liable for a civil penalty in the

amount of $15,508,280.13 pursuant to section 20(d) of the Securities Act and section

21(d)(3) of the Exchange Act.

       It is further ORDERED that Olivia is individually liable for disgorgement of

$750,098.69, representing proceeds gained as a result of the conduct alleged in the


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Complaint, together with prejudgment interest thereon in the amount of $149,518.58, for a

total of $899,617.27.

      It is further ORDERED that Olivia is individually liable for a civil penalty in the

amount of $750,098.69 pursuant to section 20(d) of the Securities Act and section 21(d)(3)

of the Exchange Act.

      It is further ORDERED that Eppy is individually liable for disgorgement of

$671,826.23, representing proceeds gained as a result of the conduct alleged in the

Complaint, together with prejudgment interest thereon in the amount of $129,912.52, for a

total of $801,738.75.

      All relief not expressly granted herein is denied. This is a Final Judgment.



      Signed June 4, 2018.



                                                _________________________________
                                                          David C. Godbey
                                                     United States District Judge




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